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 5   EDDIE RODRIGUEZ
 6
 7                               UNITED STATES DISTRICT COURT
 8                               EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,        )           Case No. 1: 03 CR 05165 OWW
                                      )
11          Plaintiff,                )            APPLICATION FOR ORDER EXONERATING
                                      )            BOND AND FOR RECONVEYANCE OF
12               v.                   )            REAL PROPERTY AND ORDER THEREON
                                      )
13   EDDIE RODRIGUEZ,                 )
                                      )
14          Defendant.                 )            HONORABLE OLIVER W. WANGER
     _________________________________)
15
16          Defendant, EDDIE RODRIGUEZ, by and through his counsel, John F. Garland, hereby
17   moves the Court for an order exonerating the bond and for reconveyance of the real property in
18   the above captioned case.
19          On April 8, 2003 defendant EDDIE RODRIGUEZ was arrested pursuant to a Warrant of
20   Arrest issued by this Court for charges in the above captioned case. On May 2, 2003 United
21   States Magistrate Judge Sandra M. Snyder ordered the release of Mr. Rodriguez, setting
22   conditions of pretrial supervision, and a $40,000 property bond. On May 23, 2003 a Straight
23   Note (Secured By Deed Of Trust) in the amount of $40,000, and a Deed of Trust were delivered
24   to the Clerk of the Court by Edmundo Rodriguez and Concepcion Rodriguez. On May 23, 2003
25   EDDIE RODRIGUEZ was released from custody.
26          On February 22, 2005 EDDIE RODRIGUEZ appeared before this Court and entered a
27   pleas of guilty to Count 12 of the Superseding Indictment. On May 2, 2005 this Court sentenced
28   EDDIE RODRIGUEZ to a term of 51 months imprisonment and ordered EDDIE RODRIGUEZ


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 1   to surrender to the federal institution designated by the United States Bureau of Prisons on or
 2   before 2:00 p.m. on June 27, 2005.
 3           On June 27, 2005 EDDIE RODRIGUEZ surrendered to the Federal Correctional
 4   Institution at Lompoc, California to begin service of the 51 month sentence imposed by this
 5   Court. EDDIE RODRIGUEZ, having surrendered to the designated federal institution as ordered,
 6   hereby requests the Court exonerate the bond set by the Magistrate Judge and order the Clerk of
 7   the Court to reconvey title to the real property securing the property bond. Assistant United
 8   States Attorney Kathleen A. Servatius does not oppose this application
 9
10 Dated: September 29, 2006                                  Respectfully submitted,
11
                                                                /s/ John F. Garland
12                                                                John F. Garland
                                                               Attorney for defendant
13                                                             EDDIE RODRIGUEZ
14
15
                                          ORDER
16
17          IT IS HEREBY ORDERED that the property bond posted by Edmundo Rodriguez and
18 Concepcion Rodriguez, secured by the real property located in Porterville, California, is
19 exonerated and the Clerk of the Court is directed to reconvey title to said real property to
20 Edmundo Rodriguez and Concepcion Rodriguez.
21 IT IS SO ORDERED.
22 Dated: October 3, 2006                             /s/ Oliver W. Wanger
   emm0d6                                        UNITED STATES DISTRICT JUDGE
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